Case 18-25147-JNP      Doc 39    Filed 07/12/19 Entered 07/12/19 12:53:13                 Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  BARRY R. SHARER, CPA
                                                                    Order Filed on July 12, 2019 by
  Sharer Petree Brotz & Snyder                                       Clerk U.S. Bankruptcy Court
  1103 Laurel Oak Road                                                  District of New Jersey
  Suite 105B
  Voorhees, NJ 08043
  (856)435-3200
  Accountant for the Chapter 7 Trustee

  In Re:                                         Case No.: 18-25147

  DIGEROLAMO, JOSEPH                             Chapter 7

                                                 Hearing Date: 07/11/19 @ 2:00PM

                                                 Judge: JNP

              ORDER AWARDING FINAL COMPENSATION AND EXPENSES
                     FOR THE ACCOUNTANT TO THE TRUSTEE

      The relief set forth on the following pages, numbered two (2) through two (2) is
      Hereby ORDERED.




 DATED: July 12, 2019
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(Page 2)
Debtor:        DIGEROLAMO, JOSEPH

Case No.:      18-25147\JNP

Caption of Order: Order Approving Fees and Expenses for the Accountant for the Chapter 7
Trustee


       Upon consideration of the foregoing application for compensation and after notice as
prescribed by Bankruptcy Rule 2002 to all parties in interest, it is
       ORDERED, that compensation and expenses are allowed as follows:



       APPLICANT

       Sharer Petree Brotz & Snyder

       FEES:                   $1,851.50

       EXPENSES                $   14.25

       TOTAL:                  $1,865.75
